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1    Patience Milrod
     844 N. Van Ness Avenue
2    Fresno, California 93728
     559/442-3111
3
     Attorney for JOSÉ ANTONIO VÁSQUEZ
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7
        IN THE UNITED STATES DISTRICT COURT IN AND FOR THE EASTERN
8
                           DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA, )              Case No. 1:08-cr-00228 OWW
11
                                   )
             Plaintiff,            )          STIPULATION AND ORDER
12
                                   )          TO CHANGE SENTENCING DATE
         vs.                       )
13
                                   )
     JOSÉ ANTONIO VÁSQUEZ, et al., )
14
                                   )
                        Defendant. )
15
           IT IS HEREBY STIPULATED by and between the parties hereto through their
16
     respective counsel, LAUREL MONTOYA, Assistant United States Attorney for Plaintiff
17
     and PATIENCE MILROD, attorney for defendant herein:
18
           1.     To change the date for sentencing currently set for October 26, 2009 at
19
                  9:00 a.m., to a new date of October 13, 2009 at 1:30 p.m.
20

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23   Stipulation and Proposed Order                                                   1
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2    IT IS SO STIPULATED.

3
         Dated: September 29, 2009                          /s/ Patience Milrod
4                                                           PATIENCE MILROD
                                                            Attorney for defendant
5                                                           JOSÉ ANTONIO VÁSQUEZ

6        Dated: September 29, 2009                          /s/Laurel Montoya
                                                            United States Attorney
7                                                           LAWRENCE G. BROWN
                                                            By LAUREL MONTOYA
8                                                           Assistant U.S. Attorney

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11                         [PROPOSED] ORDER ON STIPULATION

12         Having received and reviewed the stipulation of the parties, and good cause

13   appearing therefor,

14         IT IS HEREBY ORDERED that that the hearing presently set for October 26, 2009,

15   at 9:00 a.m., be changed to October 13, 2009 at 1:30 p.m.

16         IT IS SO ORDERED.

17   Dated: 9/28/2009
                                              /s/ OLIVER W. WANGER
18                                            HON. OLIVER W. WANGER
                                              Judge of the Eastern District
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23   Stipulation and Proposed Order                                                   2
